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            9

          10                                    UNITED STATES DISTRICT COURT

          11                                   NORTHERN DISTRICT OF CALIFORNIA

          12

          13       BLOOM ENERGY CORPORATION,                  No.

          14                     Petitioner,                  [PROPOSED] ORDER GRANTING
                                                              PETITIONER’S ADMINISTRATIVE
          15            v.                                    MOTION TO FILE UNDER SEAL
                                                              PORTIONS OF EXHIBIT D TO THE
          16       DWIGHT BADGER and KEITH                    STEPHEN RICHARDS DECLARATION IN
                   DAUBENSPECK,                               SUPPORT OF PETITION TO CONFIRM
          17                                                  ARBITRATION AWARD AND FOR
                                                              ENTRY OF JUDGMENT
          18                     Respondents.

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  COOLEY LLP
ATTORNEYS AT LAW
   PALO ALTO
                                       [PROPOSED] ORDER GRANTING PETITIONER'S
                                           ADM MOTION TO FILE UNDER SEAL
                       Case 4:21-cv-02154-PJH Document 1-6 Filed 03/26/21 Page 2 of 2



            1            THIS MATTER, having come before the Court through petitioner Bloom Energy

            2      Corporation’s Administrative Motion to File Under Seal Portions of Exhibit D to the Declaration

            3      of Stephen Richards in Support of Petition to Confirm Arbitration Award and for Entry of

            4      Judgment and other appropriate papers filed contemporaneously therewith:

            5            The Court find that good cause exists to support the filing under seal of the portions of the

            6      documents described therein. Accordingly,

            7            IT IS HEREBY ORDERED that the following portions shall be redacted and filed under

            8      seal and sealed from public record:

            9
                    Document                                          Paragraph or Page/Line
          10
                    Exhibit D to the Declaration of Stephen           ¶¶ 1–108
          11        Richards in Support of Petition to Confirm
                    Arbitration Award and for Entry of
          12
                    Judgment
          13

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                         IT IS SO ORDERED.
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                   DATED:
          17                                                                  United States District Court Judge
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                                         [PROPOSED] ORDER GRANTING PETITIONER'S
                                             ADM MOTION TO FILE UNDER SEAL
